                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In re:                                         :
                                               :
   Louis Anthony Telerico                      :       Case No.: 17-50236
                                               :       Chapter 7
         Debtor(s).                            :       Judge Alan M. Koschik
                                               :       ***********************
                                               :
                                               :

         RESPONSE TO MOTION TO SURCHARGE BANK OF AMERICA, N.A.'S
                       COLLATERAL (DOCKET # 236)

         Now comes Bank of America, N.A. ("Creditor") by and through its attorneys, Manley

Deas Kochalski LLC, and responds to the Motion to Surcharge Bank of America, N.A.'s

Collateral filed by Louis Anthony Telerico (''Debtor'') on April 9, 2019 at Docket # 236.

         Creditor states that Debtor has not cited any legal authority that would allow Creditor to

be surcharged. Furthermore, Bank of America only holds a lien interest in the property located

at 545 Bristol Drive, Aurora, Ohio 44202 (the "Property"), not an ownership interest.

         WHEREFORE, Creditor respectfully requests that a hearing be set on the matter and that

the motion be denied.

                                                     Respectfully submitted,

                                                      /s/ Adam B. Hall
                                                     Stephen R. Franks (0075345)
                                                     Edward H. Cahill (0088985)
                                                     Adam B. Hall (0088234)
                                                     John R. Cummins (0036811)
                                                     Karina Velter (94781)
                                                     Sarah E. Barngrover (28840-64)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus, OH 43216-5028
                                                     Telephone: 614-220-5611


17-029909_JMR



17-50236-amk       Doc 266     FILED 06/28/19      ENTERED 06/28/19 15:37:12            Page 1 of 3
                                            Fax: 614-627-8181
                                            Attorneys for Creditor
                                            The case attorney for this file is Stephen R.
                                            Franks.
                                            Contact email is srfranks@manleydeas.com




17-029909_JMR



17-50236-amk    Doc 266   FILED 06/28/19   ENTERED 06/28/19 15:37:12          Page 2 of 3
                                CERTIFICATE OF SERVICE

      This is to certify that on June ___,
                                      28 2019, a true and accurate copy of the foregoing
Response to Motion to Surcharge Bank of America, N.A.'s Collateral was served:

Via the Court's Electronic Case Filing System on these entities and individuals who are listed on
the Court's Electronic Mail Notice List:

   Office of U.S. Trustee, Northern District of Ohio, Party of Interest, (Registered
   address)@usdoj.gov

   Kathryn A Belfance, Chapter 7 Trustee, kb@rlbllp.com

   Susan J. Lax, Attorney for Louis Anthony Telerico, susan.lax@hotmail.com

   Frederic P. Schwieg, Attorney for Louis Anthony Telerico, fschwieg@schwieglaw.com

and on the below listed parties by regular U.S. mail, postage prepaid:

   Louis Anthony Telerico, PO Box 928, Aurora, OH 44202

   Louis Anthony Telerico, 545 Bristol Drive, Aurora, OH 44202

   Portage County Treasurer, 449 South Meridian Street , Ravenna , OH 44266

   Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-5016

   Ohio Department of Taxation, Attn Bankruptcy Division, PO Box 530, Columbus, OH
   43216-0530

   Portage County Treasurer, 449 S Meridian St FL1, Ravenna, OH 44266-1217

   Stifel Bank and Trust, 955 Executive Pkwy Ste 216, Saint Louis, MO 63141


                                                        /s/ Adam B. Hall




17-029909_JMR



17-50236-amk      Doc 266     FILED 06/28/19       ENTERED 06/28/19 15:37:12           Page 3 of 3
